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     P.O. Box 26945
2    Phoenix, Arizona 85068-6945
     Telephone: (602) 710-1005
3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                         )      In Chapter 7 Proceedings
                                    )
9    VALLEY HOSPICE OF ARIZONA, INC.)      Case No. 2:21-BK-08392-PS
                                    )
10                       Debtor.    )
                                    )
11
                             NOTICE OF LODGING ORDER
12
                Please take notice that the attached order has been lodged
13
     with the Court.
14
                DATED February 16, 2023.
15
                                      TERRY A. DAKE, LTD.
16
                                      By /s/ TD009656
17                                      Terry A. Dake
                                        P.O. Box 26945
18                                      Phoenix, Arizona 85068-6945

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                     IN THE UNITED STATES BANKRUPTCY COURT
7
                            FOR THE DISTRICT OF ARIZONA
8
     In re:                         )     In Chapter 7 Proceedings
9                                   )
     VALLEY HOSPICE OF ARIZONA, INC.)     Case No. 2:21-BK-08392-PS
10                                  )
                         Debtor.    )
11                                  )

12                        ORDER SUSTAINING OBJECTION TO
                                  CLAIM NO. 20
13
               This matter having come before the Court on the trustee's
14
     Objection To Claim No. 20 And Notice Of Bar Date For Objections (Admin.
15
     Dkt. No. 207); and
16
               It appearing that notice of the trustee's objection was duly
17
     given as appears from the certificate of mailing attached to the
18
     objection on file with the Court; and
19
               There having been no response to the trustee's objection
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     timely filed and served; and
21
               The Court having reviewed the objection and finding that the
22
     relief requested is appropriate; and
23
               The Court being otherwise duly advised;
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1              IT IS ORDERED that the trustee’s Objection To Claim No. 20 is
2    sustained.   Claim No. 20 is allowed as a general unsecured claim with
3    no priority in the amount of $4,120.03.
4                            DATED AND SIGNED ABOVE.
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